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                                   11442




                                                   FILED: September 17, 2024


                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT

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                                No. 22-4508 (L)
                          (2:19-cr-00047-RAJ-LRL-3)
                             ___________________

UNITED STATES OF AMERICA

            Plaintiff - Appellee

v.

AGHEE WILLIAM SMITH, II

            Defendant - Appellant

                             ___________________

                                  No. 22-4521
                          (2:19-cr-00047-RAJ-LRL-2)
                             ___________________

UNITED STATES OF AMERICA

            Plaintiff - Appellee

v.

DAVID ALCORN

            Defendant - Appellant
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                                      11443

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                                 JUDGMENT
                               ___________________

      In accordance with the decision of this court, the judgment of the district

court in Appeal No. 22-4508 is affirmed. The judgment in Appeal No. 22-4521 is

affirmed in part and vacated in part. This case is remanded to the district court for

further proceedings consistent with the court's decision.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                        /s/ NWAMAKA ANOWI, CLERK
